Case 2:05-cr-80025-VAR-RSW ECF No. 561, PageID.5216 Filed 07/02/10 Page 1 of 5




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff(s),               CASE NUMBER: 05-80025
                                                HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                        ORDER

I.    INTRODUCTION

      This matter is before the Court on the Government’s “Motion in Limine to Exclude

the Use and Mention of Polygraph Evidence During the Guilt Phase and During the

Penalty Phase of Trial.” (Doc. #521). The Government asks the Court to prohibit

Timothy O’Reilly from introducing polygraph examination results, and the fact that

certain individuals offered to take polygraph examinations.

      Part of the Government’s motion is GRANTED, and part is HELD IN

ABEYANCE.

II.   APPLICABLE LAW AND ANALYSIS

      A.     Impeachment Evidence During the Guilt Phase

      During the guilt phase, O’Reilly wants to introduce evidence that two co-

Defendants, Archie Broom and Norman Duncan, offered to take polygraph

examinations. O’Reilly says their willingness to submit to polygraphs demonstrates bias

toward the Government. The Court disagrees.

                                            1
Case 2:05-cr-80025-VAR-RSW ECF No. 561, PageID.5217 Filed 07/02/10 Page 2 of 5




       “In limited circumstances, evidence of a party’s willingness to submit to a

polygraph may, within the discretion of the trial court, become admissible if it is relevant

at trial.” United States v. Harris, 9 F.3d 493, 501 (6th Cir. 1993) (citing Wolfel v.

Holbrook, 823 F.2d 970, 972 (6th Cir. 1987)).

       O’Reilly does not allege that Broom had to take a polygraph examination before

the Government offered him a plea agreement, nor does O’Reilly allege that Duncan

had to take a polygraph examination before it would withdraw its Notice of Intent to

Seek the Death Penalty against Duncan. Indeed, the Government has not withdrawn its

Notice of Intent against Duncan.

       The Court finds Broom and Duncan’s willingness to take polygraph examinations

is irrelevant to a claim of bias on their part, in favor of the Government.

       B.      Mitigation Evidence During the Penalty Phase

               1.    Robyn Stephens and Johnnie Allen

       O’Reilly wants to introduce evidence that: (1) the victim’s wife, Robyn Stephens,

failed a polygraph examination question that asked whether the victim had any

involvement in the crime; and (2) the victim’s niece, Johnnie Allen, told the FBI

information she obtained, suggesting the victim was involved in the Dearborn Federal

Credit Union robbery because of his previous criminal behavior and mind set, and the

fact that he needed money. O’Reilly says this evidence is admissible under 18 U.S.C.

§3592(a)(7):

       Victim’s consent.--The victim consented to the criminal conduct that
       resulted in the victim’s death.

               2.    Elliott Phillinganes


                                              2
Case 2:05-cr-80025-VAR-RSW ECF No. 561, PageID.5218 Filed 07/02/10 Page 3 of 5




       O’Reilly also wants to introduce evidence that Elliott Phillinganes, one of the

armored truck guards who worked with the victim on the day of the crime, failed two

polygraph examination questions:

       Question:      Did you help plan [the Dearborn Federal Credit Union]
                      robbery?

       Answer:        No.

       Question:      Do you know for sure who committed that robbery?

       Answer:        No.

O’Reilly says this evidence is admissible under 18 U.S.C. §3592(a)(4):

       Equally culpable defendants.–Another defendant or defendants, equally
       culpable in the crime, will not be punished by death.

              3.      Analysis

       A person found guilty of a capital offense must be given every opportunity to

present potentially mitigating evidence that may form the basis for a sentence less than

death. See Paxton v. Ward, 199 F.3d 1197, 1214 (10th Cir. 1999).

       In addition:

       the Eighth and Fourteenth Amendments require that the sentencer, in all
       but the rarest kind of capital case, not be precluded from considering, as a
       mitigating factor, any aspect of a defendant’s character or record and any
       of the circumstances of the offense that the defendant proffers as a basis
       for a sentence less than death.

Lockett v. Ohio, 438 U.S. 586, 604 (1978) (emphasis in original); see also Eddings v.

Oklahoma, 455 U.S. 104, 114-15 (1982) (the jury may not be precluded from

considering any relevant mitigating evidence). The exclusion of relevant evidence over

reliability concerns violates the principle outlined in Lockett by interfering with the jury’s



                                               3
Case 2:05-cr-80025-VAR-RSW ECF No. 561, PageID.5219 Filed 07/02/10 Page 4 of 5




ability to weigh mitigating factors. See Rupe v. Wood, 93 F.3d 1434, 1440 (9th Cir.

1996) (citations omitted).

       The Court cannot apply these very liberal rules in a vacuum. The only

information the Court has about the polygraph examiners is that they are FBI agents.

The Court does not have any information about the examiners’ backgrounds and

experiences, nor does the Court know whether the polygraph examinations that

Stephens, Allen, and Phillinganes took, are reliable enough to have probative value.

       Further, the Court does not know the basis for Allen’s statements that the victim

was involved in the crime. Her statements may be based on pure speculation. If so,

the statements lack probative value and should be excluded. See 18 U.S.C. §3593(c)

(“Information . . . may be excluded if its probative value is outweighed by the danger of

creating unfair prejudice, confusing the issues, or misleading the jury”).

       Finally, the Court does not have Stephens’ Polygraph Report, or the FBI report

regarding the information it received from Allen. Without this information, the Court

does not know the context in which the information was acquired.

III.   CONCLUSION

       The Government’s motion is GRANTED IN PART. O’Reilly may not introduce

Broom or Duncan’s willingness to submit to a polygraph examination.

       The remainder of the Government’s motion is HELD IN ABEYANCE. If O’Reilly

is convicted of a capital offense, the Court may hold an evidentiary hearing before the

penalty phase to determine whether the polygraph examination results O’Reilly intends

to admit during the penalty phase, are admissible.



                                             4
Case 2:05-cr-80025-VAR-RSW ECF No. 561, PageID.5220 Filed 07/02/10 Page 5 of 5




        In the alternative, the Court may require O’Reilly to lay a foundation for the

admissibility of the polygraph examination results during the sentencing hearing.

        IT IS ORDERED.


                                                 s/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: July 2, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 July 2, 2010.

 s/Linda Vertriest
 Deputy Clerk




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